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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION


____________________________________

The Michelin Retirement Plan, et al.,         :       C.A. No. 6:16-cv-03604-DCC-JDA
                                              :
                       Plaintiffs,            :
                                              :
               v.                             :
                                              :
Dilworth Paxson LLP, et al.,                  :
                                              :
                  Defendants.                 :
____________________________________


            STATUS REPORT OF DEFENDANTS DILWORTH PAXSON LLP
                        AND TIMOTHY B. ANDERSON

       Defendants Dilworth Paxson LLP and Timothy B. Anderson renew their request that the

stay in this case be lifted and the matter proceed forward.

                                                      Respectfully submitted,

                                                      LEWIS BABCOCK L.L.P.

                                                      /s/ Keith M. Babcock
                                                      Keith M. Babcock, Federal I.D. 1143
                                                      David L. Paavola, Federal I.D. 11713
                                                      1513 Hampton Street
                                                      Post Office Box 11208
                                                      Columbia, South Carolina 29211
                                                      Telephone: (803) 771-8000
                                                      Facsimile: (803) 733-3534
                                                      kmb@lewisbabcock.com
                                                      dlp@lewisbabcock.com

                                                      Attorneys for Defendants
                                                      Dilworth Paxson LLP and
                                                      Timothy B. Anderson
Dated: March 23, 2018
